                    Case 1:15-cr-04274-JB Document 68 Filed 04/04/22 Page 1 of 1
 AO 83 (Rev. 06/09) Summons ina Criminal Case

                                          UNITED STATES DISTRICT COT'RT
                                                District of New Mexico

               UNITED STATES OF AMERICA
                             v.

                                                                  Case No. 1084 l:15CFi04274-    00lJB

                     Marco Holguin
                         Defendant

                                                  STJMMONS IN A CRIMINAL CASE

        YOU ARE STIMMOI\-ED to appear before the United States district court at the time, date, and place set forth
below to answer to one or more offenses or violations based on the following document filed with the court:

 n Indictment E Superseding Indictment E Information n                      Superseding   Information E Complaint
 n Probation Violation Petition X Supervised Release Violation                  E Violation Notice      !   Order of Court
                                     Petition

 Place: This proceeding will be held viaZoom VideoAMeb I Courtroom No.: Zoom Video Conference
 Conferencing with all participants appearing remotely; the
 Zoom ID and Passcode will be provided separately to the    I Date and Time: 0411412022 @ 1:30 pm before
                                                              Masistrate Judse Laura Fashi

This offense is briefly described as follows:
The offender failed to successfully complete a residential reentry center                   unsuccessful ly term inated.

 Date:r Apdlg{,2022
          i_



                                                                  MITCHELL R. ELFERS, CLERK OF COURT
                                                                              Printed name and title




I declare under penalty of perjury that I have:

 f]   Executed and returned this summons                          E   Returned this summons unexecuted

 Date:
                                                                                     Server's signature


                                                                                   Printed name and title
